Case 2:05-CV-02235-SHI\/|-tmp Document 19 Filed 05/31/05 Page 1 of 2 Page|D 24

  

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MOCK, INC., d/b/a HI-SPEED
INDUSTRIAL SERVICE,

Plaintiff,

v. Cv. Nb. 05-2235-Ma

AZIMA, INC. and DON RAINEY,

Defendants.

JUDGMENT
Decision. by Court. This action. came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed in
accordance with the Consent Order of Dismissal With Prejudice,
docketed May 25, 2005.

 

 

SAMUEL H. MAYSY JR.
UNITED STATES DISTRICT JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

